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                                   UNITED STATES DISTRICT COURT
                                    DISTRICT OF SOUTH CAROLINA
                                       CHARLESTON DIVISION


UNITED STATES OF AMERICA,                               :
          Plaintiff,                                    :
     v.                                                 :        CASE NO.          2:20-cr-543-RMG
                                                        :
ORLANDO SHALROCKO KING,                                 :
         Defendant.                                     :


                     MOTION TO CONTINUE SENTENCING
        AND, ALTERNATIVELY, MOTION FOR A BELOW GUIDELINE SENTENCE
                   PURSUANT TO THE PARSIMONY PROVISION


           Mr. King, by and through counsel, asks this Honorable Court to continue the sentencing

hearing so that Mr. King may participate in the Turning Leaf Project.                       Alternatively, counsel

asks the Court to consider imposing a below guidelines sentence. The guideline range is 70-87

months. PSR, p. 13, paragraph 57. As will be discussed below, the guideline range is “greater

than necessary greater than necessary to comply with the purposes” of 18 U.S.C. § 3553(a)(2).1

The reasons for these requests are as follows:


1
    18 U.S.C. § 3553(a) instructs the trial court as follows:
          The Court shall impose a sentence sufficient, but not greater than necessary to comply with
          the purposes set forth in paragraph (2) of this subsection. The court, in determining the
          particular sentence to be imposed, shall consider—
          (1) the nature and circumstances of the offense and the history and characteristics of the
          defendant;
          (2) the need for the sentence imposed—
                    (A) to reflect the seriousness of the offense, to promote respect for the law, and to
                    provide just punishment for the offense;
                    (B) to afford adequate deterrence to criminal conduct;
                    (C) to protect the public from further crimes of the defendant; and
                    (D) to provide the defendant with needed educational or vocational training, medical
                    care, or other correctional treatment in the most effective manner;
          (3) the kinds of sentences available;
          (4) the kinds of sentence and the sentencing range established (by the sentencing
          guidelines)….
                                                            1
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           1. Background and Introduction

       Orlando King was arrested on the state court charge of Burglary 2nd degree related to his

involvement with the May 30th-31st, 2020 protest in downtown Charleston that morphed into

acts of looting and rioting. Mr. King’s role in the looting/rioting was minor and did not involve

violence – he went into a market that had been broken into by others and left with a six-pack of

Angry Orchard Hard Cider. It is unlikely that he would not have been charged in federal court

based solely on his conduct during the riot; however, Mr. King has a prior felony conviction and

was also out on a state bond for gun charges. On April 25, 2020 Mr. King was arrested for the

state charges of unlawful carrying of a pistol in violation of SC Code § 16-23-20 and unlawful

possession of a pistol by an unqualified person in violation of SC Code § 16-23-30.

       Mr. King streamed on Facebook Live both his gun possession offense and his

involvement in the riot.

       Although he was initially charged in state court, the United States chose to prosecute Mr.

King in federal court for the gun possession by a felon charge and the participating in a riot

change.   When contacted by federal authorities, with the assistance of counsel Mr. King

debriefed with the government as to his role in the offense and agreed to plead guilty by

information to the two counts. In short, Mr. King’s post-arrest actions have shown remorse and

full acceptance of responsibility.




       (5) any pertinent policy statement….
       (6) the need to avoid unwarranted sentence disparities among defendants with similar records
       who have been found guilty of similar conduct; and
       (7) the need to provide restitution to any victims of the offense.



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        The state court charges, which is for the identical conduct as the federal charges, remain

pending.



            2. Request for the opportunity to complete the Turning Leaf Project prior to
               the imposition of the sentence

        As is shown in the PSR and as will be discussed at the sentencing, Mr. King has had a

difficult life and has not enjoyed the amount of family support that many of us were privileged to

enjoy. His prior criminal offenses occurred when he was 17 and 18 years of age. He served 9

years in the South Carolina Department of Corrections. He is now 31 years of age and motivated

to change his life.

        The Turning Leaf Project helps violent offenders break the cycle of recidivism that ruins

the lives of many and harms the community. They now accept offenders like Mr. King who are

out of custody. We have had conversations with the Turning Leaf Project regarding admitting

Mr. King. The door is open for Mr. King to be admitted into the program if the Court supports

this alternative.

        Turning Leaf would prefer to admit a candidate whose application is supported by the

prosecutor and where there are no other pending charges. In this matter, Ms. Limehouse, on

behalf of the government, is not consenting to our request, and the state court prosecutor is not

prepared to make a final decision to dismiss the state charges. However, when I explained Mr.

King’s status, Turning Leaf indicated that Mr. King sounds like someone they can help if the

Court sees fit to provide the opportunity.

        The Turning Leaf Program has the track record of helping men like Mr. King to radically

change their lives.

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             3. Alternatively, counsel asks the Court for a variance based upon 3553(a)
                factors and the parsimony provision

        The Court is instructed to “impose a sentence that is sufficient, but not greater than

necessary, to comply with the statutory purposes of sentencing.”                      USSG §5, Introductory

Commentary (referencing 18 U.S.C. § 3553(a)). Respectfully, in considering all the sentencing

factors without placing undue weight on the guideline range,2 a variance is appropriate.

        Mr. King is not authorized to possess a weapon. Police arrested him in April 2020

because he streamed himself on Facebook Live with a prohibited weapon. Police arrested him in

June of 2020 for participating in the riots because he streamed himself on Facebook Live.

During most of the riot, his live streaming was like a man-on-the-street type of journalism. He

reported what he was seeing and was not actively participating in unlawful acts. However, he

made a serious mistake when he entered the market that others had broken into and took a 6-pack

of hard cider. His own video showed him drinking one hard cider and giving the others away.

He did not attack police, burn a police car, or harm anyone else.

        His arrest and federal prosecution have ample deterrent value to others and to Mr. King.

The dual prosecutions by separate sovereigns has an increased deterrence.

        There are few programs in the BOP for Mr. King. Mr. King requests a referral to the

residential drug treatment program for his marijuana abuse. Due to the gun offenses, Mr. King

appears ineligible to receive the one-year sentencing reduction for successfully completing the

RDAP program.



        2
           The district court “must sentence based on 18 U.S.C. § 3553(a) without any thumb on the scale favoring a
guideline sentence.” United States v Sachsenmaier, 491 F.3d 680, 685 (7th Cir.2007).



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      WHEREFORE, for the reasons stated above and for other good cause, counsel requests

         •   Continuing the sentencing so that Mr. King may enroll in and complete the

             Turning Leaf Program;

         •   Alternatively, a below guideline sentence;

         •   Recommendation to the RDAP;

         •   Recommendation for service of sentence at FCI Williamsburg; and

         •   Permit self-surrender at a time and date required by the BOP.



                                                  RESPECTFULLY SUBMITTED,

                                                  s/ Christopher W. Adams
                                                  CHRISTOPHER W. ADAMS
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DATE: August 23, 2021




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                               CERTIFICATE OF SERVICE

       I hereby certify that on the above date, this document was electronically filed with the
Clerk of Court using the ECF system that will notify the parties of record of this filing.


                                                   Respectfully submitted,

                                                   s/ Christopher W. Adams
                                                   Federal I.D. # 10595

                                                   Attorney for Orlando King




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